Case 2:15-cv-03034-JAK-PLA Document 17 Filed 07/23/15 Page 1 of 2 Page ID #:140



 1
     Charles R. Messer (SBN 101094)
     Messerc@cmtlaw.com
 2
     David J. Kaminski (SBN 128509)
     Kaminskid@cmtlaw.com
 3
     J. Grace Felipe (SBN 190893)
     Felipeg@cmtlaw.com
 4
     CARLSON & MESSER LLP
     5959 W. Century Boulevard, Suite 1214
 5
     Los Angeles, California 90045
     (310) 242-2200 Telephone
 6
     (310) 242-2222 Facsimile
 7
     Attorneys for Defendant,
 8   PROFESSIONAL RECOVERY SERVICES, INC.

 9
                             UNITED STATES DISTRICT COURT
10
                            CENTRAL DISTRICT OF CALIFORNIA
11

12   MAX WILD, Individually and On Behalf ) CASE NO. 2:15-cv-03034-JAK-PLA
     of All Others Similarly Situated,    )
13
                                          ) CLASS ACTION
14                    Plaintiff,          )
15
           vs.                            ) NOTICE OF SETTLEMENT
                                          )
16   PROFESSIONAL RECOVERY                )
17
     SERVICES, INC.,                      )
                                          )
18                    Defendant.          )
19
                                          )

20

21

22   TO THE COURT, THE PARTIES, AND THEIR ATTORNEYS OF RECORD
23   HEREIN:
24            PLEASE TAKE NOTICE that this entire action has been settled.              The
25   parties anticipate that they will complete the memorialization of their agreement,
26   and file a stipulation of dismissal with prejudice as to plaintiff MAX WILD, and
27   without prejudice as to the putative class members, within 60 days from the date
28   of this notice.
29
     {00035093;1}08111.20                    -1-                     NOTICE OF SETTLEMENT
                                                               CASE NO: 2:15-CV-03034-JAK-PLA
30
Case 2:15-cv-03034-JAK-PLA Document 17 Filed 07/23/15 Page 2 of 2 Page ID #:141


              In light of the settlement, the parties request that the Court take off calendar
 1
     all future hearing dates in this case.
 2

 3
     DATED: July 23, 2015,                            MARTIN & BONTRAGER, APC
 4

 5
                                                      /s/ Nicholas J. Bontrager
 6                                                    G. Thomas Martin, III
 7
                                                      Nicholas J. Bontrager
                                                      Attorneys for Plaintiff
 8                                                    MAX WILD
 9

10   DATED: July 23, 2015                             CARLSON & MESSER LLP
11

12                                                    /s/ J. Grace Felipe
                                                      Charles R. Messer
13
                                                      David J. Kaminski
14                                                    J. Grace Felipe
                                                      Attorneys for Defendant,
15
                                                      PROFESSIONAL RECOVERY
16                                                    SERVICES, INC.
17

18

19

20

21

22

23

24

25

26

27

28

29
     {00035093;1}08111.20                       -2-                          NOTICE OF SETTLEMENT
                                                                       CASE NO: 2:15-CV-03034-JAK-PLA
30
